              THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:07-cr-00015-MR-11


UNITED STATES OF AMERICA        )
                                )
                                )
         vs.                    )              ORDER
                                )
                                )
TOD CHRISTOPHER TAVERNIA.       )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s letter, which

the Court construes as a motion for sentence credit and for correction of

the Presentence Report [Doc. 229].

     In his motion, the Defendant claims that the Bureau of Prisons has

refused to give him credit for time served in state custody in contravention

of the express language of his Judgment. [Doc. 229]. A claim for credit

against a sentence attacks the computation and execution of a sentence

rather than the sentence itself. United States v. Johnson, 317 F. App’x

336, 337 n.2 (4th Cir. 2009). Such claims must be raised pursuant to 28

U.S.C. § 2241 in the district of confinement. Id.; see also United States v.

Miller, 871 F.2d 488, 490 (4th Cir. 1989); 28 U.S.C. § 2241(a). Because the

Defendant is incarcerated in a prison which is outside the Western District



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of North Carolina, this Court does not have jurisdiction to entertain his

claim.

     The Defendant also challenges certain findings made in his

Presentence Report (PSR), namely that the Defendant had not obtained a

G.E.D. and that he had previously been charged with escape.                   The

Defendant contends that these erroneous findings have caused him to be

unfairly classified as a medium security inmate.

     Rule 32(f) of the Federal Rules of Criminal Procedure provides that

“the parties must state in writing any objections, including objections to

material information, sentencing guideline ranges, and policy statements

contained in or omitted from the [presentence] report” within fourteen days

of receiving the PSR. Fed. R. Crim. P. 32(f)(1). A district court is without

jurisdiction to correct errors in a presentence report once a judgment has

been entered. See United States v. Boardley, 61 F. App’x 904, 905 (4th Cir.

2003) (per curiam); United States v. Jarrett, Nos. 89-6705, 89-7068, 1990

WL 64694, at *1 (4th Cir. Apr. 20, 1990). “Furthermore, when a sentencing

court has given a defendant a full opportunity to dispute factual

inaccuracies in a PSR and he fails to do so, ‘the court does not deny the

defendant due process in imposing the sentence.’”              United States v.




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Newton, No. 1:08CR332-1, 2013 5205768, at *1 (M.D.N.C. Sept. 13, 2013)

(quoting United States v. Kelly, 687 F.2d 1217, 1221 (8th Cir. 1982)).

     Here, the Defendant was given the opportunity at sentencing to

dispute these alleged factual inaccuracies in the PSR, and he failed to do

so. The Court is now without jurisdiction to correct such purported errors.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion [Doc.

229] is DENIED.

     IT IS SO ORDERED.         Signed: May 15, 2014




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